979 F.2d 849
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James J. VERNON, Petitioner-Appellant,v.Sewall SMITH, Warden;  J. Joseph Curran, Jr., The AttorneyGeneral for the State of Maryland, Respondents-Appellees.
    No. 92-6772.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 26, 1992Decided:  November 19, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      James J. Vernon, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, David Phelps Kennedy, Office of the Attorney General of Maryland, Baltimore, Maryland, for Appellees.
      D.Md.
      DISMISSED.
      Before WIDENER and NIEMEYER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      James J. Vernon seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Vernon v. Smith, No. CA-92-188-MJG (D. Md. July 13, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    